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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Sven Sundgaard,                                       Case No. 0:21-cv-00999-JRT-JFD

                                  Plaintiff,

 v.
                                                                 ORDER
 Multimedia Holdings Corporation d/b/a
 KARE-TV, and d/b/a KARE-11;
 and Tegna, Inc.,

                               Defendants.


      Pursuant to the parties’ Stipulation and Joint Motion to Extend Discovery

Deadlines in the Pretrial Scheduling Order (Dkt. No. 27),

      IT IS HEREBY ORDERED that good cause exists under Local Rule 16.3 to

amend the Pretrial Scheduling Order (Dkt. No. 17) as follows:

      1.       The parties must commence fact discovery procedures in time to be

               completed on or before May 27, 2022.

      2.       All non-dispositive motions relating to fact discovery must be filed and

               served by June 24, 2022.

      3.       The remaining dates and deadlines in the Pretrial Scheduling Order (Dkt.

               No. 17) remain unchanged.


Dated: February 7, 2022
                                                        s/ John F. Docherty
                                                        JOHN F. DOCHERTY
                                                        United States Magistrate Judge
